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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA NIGHT Box
MIAMI DIVISION RECEIVED

‘DEC 1 4 1997
SHIRIONIT HOSEM SECURITY : cal

MANUFACTURING (1991), LTD., CLERK, USDG/ Sony Mia
an Israeli corporation °

Plaintiff,
vs. Case No. 96-3476 (4.

SONNY KAHN, individually,
SHLOMO EPSTEIN, individually

Defendants.

 

 

 

AMENDED

COMPLAINT AND DEMAND FOR JURY TRIAL
Plaintiff, Shirionit Hosem Security Manufacturing (1991), Ltd. (“Shirionit’),
brings this Complaint against Sonny Kahn (“Kahn”) and Shlomo Epstein (“Epstein”)

and alleges as follows:

1. Plaintiff, Shirionit, is an Israeli company with offices in Tel Aviv, Israel.
2. Defendant Kahn is a citizen of Miami, Florida.
3. Defendant Epstein is a citizen of Miami, Florida.

4. The jurisdiction of this Court is based on 28 U.S.C. § 1332(a) as the
parties are citizens of different states and the amount in controversy exceeds

seventy-five thousand dollars ($75,000.00).

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5, Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a) and
pursuant to the local rules of the United States District Court for the Southern
District of Florida.

6. All conditions necessary to the maintenance of this action have

occurred, have been waived, or have been performed.

GENERAL ALLEGATIONS

7. In December 1994, Kahn approached representatives of Shirionit in
Israel with a proposal that he would, if Shirionit expressed an interest in such a
proposal, form a business entity to be the exclusive agent of Shirionit for the sale
and distribution in the United States of locks manufactured by it.

8. During the course of these initial meetings with Shirionit, Kahn
represented repeatedly that he and his associate, Epstein, had the experience and
the resources to form a business entity which would be capable of serving in the
capacity of an exclusive distributor for Shirionit.

9. After receiving an oral agreement from Shirionit that it would send
representatives to the United States to negotiate a sales distribution contract, Kahn
returned to Miami and on February 23, 1995, incorporated Crescent Lock
International, Inc. (“Crescent Lock”).

10. In early March 1995, Shirionit sent representatives to Miami to

negotiate and draft a sales distribution contract with the newly-formed entity,
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Crescent Lock. The negotiating parties, all of whom spoke Hebrew fluently,
negotiated a contract in Hebrew. During the course of the negotiations, Kahn and
Epstein repeatedly represented to Shirionit’s representatives that Crescent Lock
would be well-capitalized, well-positioned and fully capable of acting as an
exclusive distributor of Shirionit’s locks.

11. At one point in the negotiations, Kahn and Epstein presented to
Shirionit’s representatives a copy of Crescent Lock’s Shareholder Agreement. As
reflected in Shareholder Agreement, Kahn and Epstein represented that they were
investing seven hundred thousand dollars ($700,000.00) into Crescent Lock and,
also reflected in the Shareholder Agreement, were prepared to provide an
additional contribution to be voted on by the board of directors of one million five
hundred thousand dollars ($1,500,000.00) should it prove necessary for operations.
A true and correct copy of the Shareholder Agreement is attached hereto as Exhibit
“A.

12. Also during the course of negotiations, Kahn and Epstein took
Shirionit’s representative to a facility owned by Jonathan Druchman, which Kahn
and Epstein stated they would convert to a distribution center in the event Shirionit
agreed that Crescent Lock would serve as an exclusive distributor for Shirionit.

13. Kahn, as spokesman for himself and Epstein further promised that he
would use his considerable media and marketing experience on behalf of Crescent

Lock to successfully market and distribute Shirionit’s locks.

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14. After several days of intensive negotiations, and based on the
representations made by Kahn and Epstein, the parties executed a Memorandum
of Agreement which was in Hebrew. A true and correct copy of the Memorandum
of Agreement is attached hereto as Exhibit “B’.

15. The Memorandum of Agreement included all the material terms and
obligations by and between the parties for Crescent Lock to serve as the exclusive
distributor of Shirionit’s locks in the United States.

16. The Memorandum of Agreement provided that it would become
effective upon approval of the board of directors of Shirionit. The Memorandum of
Agreement further provided that after approval by Shirionit’s board of directors, it
would be a valid and binding determination of the parties’ rights and obligations
until such time that a more detailed agreement would be drafted. Once a detailed
agreement was drafted and adopted as to form, it was to supersede the
Memorandum of Agreement.

17. Immediately after concluding the Hebrew version of the Memorandum
of Agreement, Crescent Lock then suggested that the parties should begin
translating their contract into English so as to have an English version available:
however, because the parties had reached an agreement which was subject only
to the condition that Shirionit’s board of directors approve the contract, Shirionit

suggested, and Crescent Lock accepted, the proposition that after approval by its
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board of directors, Shirionit would have the contract translated and then offered for
review to Crescent Lock.

18. Accordingly, the parties signed a “Document” which references the
Memorandum of Agreement reached by the parties and expresses their intent to
also sign an English translation after approval by respective counsel. This
translation and subsequent approval of the translation by counsel for the parties
was the only condition to the parties’ agreement. A true and correct copy of the
Document is attached hereto as Exhibit “C’.

19. On March 23, 1995, Shirionit’s board of directors approved the
Memorandum of Agreement. Immediately thereafter, Shirionit had the
Memorandum of Agreement translated into English. A true and correct copy of the
English translation of the Memorandum of Agreement is attached hereto as Exhibit
“D”,

20. OnMarch 23, 1995, Shirionit sent a letter to Crescent Lock advising
it that Shirionit’s board of directors had approved the Memorandum of Agreement,
and reminding Crescent Lock that the contract was now binding and effective. In
addition, Shirionit provided that it would begin drafting a more detailed contract as
contemplated under the Memorandum of Agreement, and enclosed the English

translation of the Memorandum of Agreement.
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21. On May 17, 1995, counsel for Crescent Lock, Abraham Galbult,
purported to advise Shirionit that Crescent Lock had “decided not to proceed” under
the contract based on alleged but unspecified additional terms to the contract.

22. On June 6, 1995, Shirionit responded stating that no additional terms
or proposals had been provided, and demanding that Crescent Lock abide by its
obligations under the Memorandum of Agreement.

23. During this period, and unbeknownst to Shirionit, Kahn and Epstein
began negotiations with Shirionit’s major Israeli competitor, Mul-T-Lock, Inc. (“Mul-
T-Lock”). Kahn and Epstein, at a time when they had been provided with Shirionit’s
confidential pricing and sales information, thus attempted to negotiate a contract
with Mul-T-Lock to allow them to serve as an exclusive distributor in the United
States for Mul-T-Lock, under terms which were more favorable to them than those
they had agreed upon with Shirionit.

24. On June 6, 1995, the president of Mul-T-Lock forwarded a draft
contract for Crescent Lock to serve as the distributor of locks in the United States
to Kahn.

25. In an apparent attempt to avoid the claims of Shirionit, Kahn and
Epstein on July 10, 1995, incorporated Lock-lIt in order to serve in the capacity of
exclusive distributor pursuant to the agreement Kahn and Epstein were negotiating

with Mul-T-Lock.
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26. Kahn and Epstein who were the shareholders and officers of Crescent
Lock also became the shareholders and officers of Lock-It. Kahn and Epstein had
majority stock control of Crescent Lock and exercised complete dominion over the
company’s finances, policies and business practices.

27. Upon information and belief, the assets and employees of Crescent
Lock were at this time transferred to Lock-It. Additionally, Lock-It operated out of
the identical physical location as Crescent Lock, and also used the identical phone
line(s). Moreover, the balance in Crescent Lock’s bank account was withdrawn and
deposited into Lock-It’s bank account.

28. On or about July 14, 1995, Crescent Lock filed a complaint in state
court (the “Crescent Lock Action”) against Shirionit seeking a declaratory judgment
that it did not have a contract with Shirionit. Crescent Lock did not, however,
attempt to effectuate process on Shirionit.

29. During this period, Kahn and Epstein continued to negotiate with Mul-
T-Lock for an acceptable distribution contract. Several drafts of the contract were
exchanged between these parties, originally between Mul-T-Lock and Crescent
Lock and then later between Mul-T-Lock and Lock-lt.

30. While drafts of the contract were continuing to be exchanged between
Mul-T-Lock and themselves, Kahn and Epstein began ordering shipments of locks
and related supplies. Mul-T-Lock shipped the locks and related materials to

Crescent Lock and Kahn and Epstein had Lock-lt pay for the materials.

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31. On December 5, 1995, Shirionit removed the Crescent Lock Action to
the Federal Court for the Southern District of Florida, and counterclaimed for
breach of contract in a case styled Crescent Lock International v. Shirionit Hosem
Security Manufacturing (1991) Ltd., 95-2724-ClV-Moreno.

32. Onor about January 11, 1996 Lock-It entered into a contract for the
distribution of locks with Mul-T-Lock.

33. On August 22, 1996 Crescent Lock filed a Suggestion of Bankrupcty.
Subsequent to the bankruptcy filing and a motion filed by Crescent Lock, Judge
Moreno entered an order dismissing the Crescent Lock Action and Shirionit’s
counterclaim on or about October 21, 1996.

COUNT |
FRAUD IN THE INDUCEMENT AGAINST KAHN AND EPSTEIN

34. — Shirionit reincorporates and realleges the allegations of paragraphs
1 through 33 of this Complaint as though fully set forth herein.

35. During the course of the negotiations for the Memorandum of
Agreement, Kahn and Epstein represented that they had the capacity, experience
and resources to form a business entity to serve as an exclusive distributor for
Shirionit including representations that (a) they would invest an initial $700,000 into
Crescent Lock and would, upon demand and pursuant to the Shareholder

Agreement, also invest up to an additional $1.5 million; and (b) they would utilize
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Kahn's marketing experience and resources and Druchman’s facility for Crescent
Lock to serve as Shirionit’s exclusive distributor.

36. Such representations were untrue at the time they were made to
Shirionit and were known to be untrue by Kahn and Epstein.

37. | Such representations were intended by Kahn and Epstein to induce
Shirionit to enter into the Memorandum of Agreement with Crescent Lock.

38. — Shirionit justifiably relied on the representations and would not have
agreed to enter into the Memorandum of Agreement but for said representations.

39. — Shirionit was damaged by the representations in that it was induced
to enter into the Memorandum of Agreement and incurred significant expenses in
preparation for performance under the Memorandum of Agreement. Additionally,
said representations caused Shirionit to reveal confidential pricing and sales
information to its detriment.

COUNT II
NEGLIGENT MISREPRESENTATION AGAINST KAHN AND EPSTEIN

40. — Shirionit realleges and reincorporates the allegations of paragraphs
1 through 33 as though fully set forth herein.

41. During the course of the negotiations for the Memorandum of
Agreement, Kahn and Epstein represented that they had the capacity, experience
and resources to form a business entity to serve as an exclusive distributor for

Shirionit including representations that (a) they would invest an initial $700,000 into
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Crescent Lock and would, upon demand and pursuant to the Shareholder
Agreement, also invest up to an additional $1.5 million; and (b) they would utilize
Kahn's marketing experience and resources and Druchman’s facility for Crescent
Lock to serve as Shirionit’s exclusive distributor.

42. Kahn and Epstein knew or should have known their representations
were false.

43. Kahn and Epstein intended Shirionit to rely on the representations.

44. — Justifiably relying on Kahn’s and Epstein’s representations, Shirionit
invested and devoted significant resources to entering into and performing under
a contract with Crescent Lock and also revealed confidential pricing and sales
information to its detriment.

45. Kahn and Epstein had a duty to insure that they were going to make
representations that were truthful.

46. Kahn and Epstein breach of that duty was the proximate cause of
Shirionit’s damages.

COUNT Ill
PIERCE THE CORPORATE
VEIL AGAINST KAHN AND EPSTEIN
47. — Shirionit realleges and reincorporates the allegations of paragraphs

1 through 33 as though fully set forth herein.

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48. Kahn and Epstein exercised complete domination over Crescent Lock
and ignored corporate formalities so that Crescent Lock had no separate mind, will
or existence of its own.

49. Kahn and Epstein used this control to commit wrongdoing in
improperly inducing Shirionit to reveal confidential information, including pricing and
marketing information, and then using it to contract with Mul-T-Lock. Said conduct
is unjust and in contravention of Shirionit’s legal rights.

50. The control and breach of duty by Kahn and Epstein was the
proximate cause of Shirionit’s damages.

51. Crescent Lock is the alter ego of Kahn and Epstein.

52. Kahn and Epstein through their alter ego, Crescent Lock, did not
perform its obligation under the contract it entered with Shirionit.

53. Kahn and Epstein, through their alter ego, Crescent Lock, breached
their contract with Shirionit.

54. — Shirionit has been damaged by Kahn’s and Epstein’s, through their
alter ego, Crescent Lock, breach of contract.

WHEREFORE, Shirionit demands judgment against Kahn and Epstein for

(a) all damages relating to the negotiation of and entry into the Memorandum of

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Understanding; (b) for damages caused by the breach of contract, including pre and

post judgment interest; (c) for the costs of this action; and (d) for such other and

further relief as this Court deems appropriate.

Dated:

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, 1997.

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Stanley H. Eleff

Florida Bar No. 0269018

John E. Johnson

Florida Bar No. 0593000

Charles M. Harris, Jr.

Florida Bar No.967459

TRENAM, KEMKER, SCHARF, BARKIN,
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101 East Kennedy Blvd., Ste. 2700

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FAX: (813) 229-6553

Attorneys for Plaintiff, Shirionit Hosem

Security Manufacturing (1991), Ltd.

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EXHIBIT A
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.. THIS AGREEMENT entered into this day of

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°8@S, by and between SONNY KAHN, RUSSELL w. GALBUT, SHLOMO EPSTEIN
‘'/ and JONATHAN DRUCXMANN, (hereinafter “individually scmetimes

+" Beferred te: as "Shareholder" or collectively as "Sharsholders") and

 

_ CRESCENT LOCK INTERNATIONAL, INC. a Florida Corporation
(hereinafter referred to ag the "Corporation") .
WITNESSEHEMTH#:

WHEREAS, the corporation hae been formed for the specific
purpose to develop, manufacture, market and gell locks and locking
mechanisms and such other devices and associated items that the
Board ‘of Directors may determine to he appropriate from time to
time in the United States and elsewhere, and

WHEREAS, the Shareholders own all issued and outstanding
shares of stock in the Corporation (hereinafter referred to ag
"Shares" or "Stock"); and

WHEREAS, the parties herato agree that it is in their mutual
best interests to provide that the Stock owned by the Shareholders
be subject to restrictions on the transfer thereof in order to
Provide for the harmonicus disposition of Stock, the continuity of
management and ownership of the Corporation and to provide for the

marketability of such Stock, the management and operation of the

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= “business undertaken by the corporation, to insure the purpose of
the corporation ia carried out and to provide for the discharge of
obligation of the corporation to the Shareholders; and

WHEREAS, there is currently authorized 10,000 shares of the
Capital stick of the Corporation with 4,000 shares of said stock
having been issued to the following individuals (“Current

Shareholders) in the following quantities:

 

Number of Percentage
Name Shares Ownership
1. Sonny Kahn 1,000 25%
om”
2. Russell W. Galbut 1,000 25%
3. Shlomo Epetain 2,000 25%
and
4 Jonathan Druckmann 1,000 (25% 6
WHEREAS, it is the intent of the Shareholders that their
interest and relationship in the Corporation be evidenced by this
agreement.
NOW THEREFORE, it is agreed by the Shareholders as fsllows.
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ARTICLE I

SALE. ASITGNMENT OR TRANSFER OF STOCK
1.1 Sale, assignment or Transfer. So long as this Agreement

shall remain in full force and effect, no Shareholder shall sell,

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assign, transfer, devise, pledge, encumber, hypothecate or
otherwise dispose of any of the shares of Stock of the Corporation,
now or hereafter owned or held, (hereinafter referred to as a
“Transfer of Stock"), unless made in accordance with the provisions
Of this Agreement. Mo Transfer of Stock, other than pursuant to
the provisions of this Agreement, shall be valid or binding upon
the Corporation or any Shareholder.

1.2 Right of Firgt Refusal, .

(a) Other than initial saleg fo Bruce Menin, Mordi
7™ Bitton, , and ,
any Shareholder (the "Selling Shareholder") who has received a bona
fide offer from a third party prospective purchaser ("Qualified
Purchaager") to) Purchase all or any portion of the Selling
Shareholder's Stock, . before selling any of his Stock, shall firsc
offer the sale thereof to the Corpcration upon the same terms and
conditions stated in such bona fide offer.

(b) The Board of Directors of the Corporation, without
the participation of the Selling Shareholder, ghall determine
whether the Corporation will accept the Selling Shareholder's offer
to it described above. In the avenc that the Corporation shall not
accept eaid offer by written notice forwarded no later than thirty

(30) days following raceipt of such offer, then the Selling

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* Shareholder shall offez such Stock to the other Shareholders (the

"Remaining Sharaholders") upon the same terms and conditions

stipulated in the offer.

S The Remaining Shareholders ‘shall have the right to
purchase all, but not part, of the offered Stock in such portions
as they shall agree upon; but if they fail to agree; then each of
them shall be entitled to purchase a fraction thereof, the
numerator of which is the total number of shareg of Stock owned by
the Remaining Shareholder and the denominator of which is the total
number of shares of Stock owned by all of the Remaining
Shareholders. If the Remaining Shareholders do not exercise their
rights by written notice forwarded no later than thirty (30) days
after receipt of such offer, then the Selling Shareholder may sell
all of his remaining Stock fo the Qualified Purchaser, under the
Same terms and conditions as are get forth in the original bona
fide offer. The sale to the Qualified ‘Purchaser’ must ‘be
consummated within forty-five (45) days from the laat date on which
the Remaining Shareholders had the right to accept the offer to
purchase. Evidence that the sale has been go consummated shall be
supplied in writing by the Selling Shareholder and the Qualified
Purchaser to the Corporation and the Remaining Shareholders. I€£
the sale has not been consummated within gaid forty-five (45) day

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“Shareholder subject to no pledge, lien or encumbrance, (B)
appropriate blank stock pawers, properly executed together with any
requisite state transfer stamps affixed thereto, and ® any and all
other documents that may be reasonably required by the purchaser
thereof and (ii) the Corporation or the Remaining Shareholders, as
the case may be, shall pay the agreed-upon consideration.

1.3. The Current Shareholder shall have the right to assign in
whole or in part his shares of the corporation to a family member.
The family member shall be defined as to include spouse, lineal
descendants, parents, siblings or spouse's of such family member,
or any fiduciary holding ghares on behal£ cf a family member to
facilitate estate planning on behalf of any Shareholder. In the
event that a current Shareholder shall only make a partial transfer
of his or her aghares pursuant to the terme of this paragraph, the
current Shareholder shall retain an irrevocable proxy to vote such

shares so transferred and shall continue to be a member of the

Board of Directors as provided herein.

ARTICLE II
ELECTION OF DIRECTORS: OFFICERS
2.1 Directars, The Board of Directors shall consist of five

{S) natural persons. The Shareholders agree to vote a sufficient

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“number of their Shares so as ta cause SONNY KAHN, RUSSELL W.
GALBUT, SHLOMO EPSTEIN and JONATHAN DRUCKMANN and BRUCE MENIN, to
be elected as directors of the Cozporation, so long as they remain
Shareholders of the Corporation. In the avent all, but not less
than all thé shares of any Current Shareholder to thia Agreement ig
sold or tranaeferred pursuant to the provisions herein, the
purchaser/tranaferee of such ghares Shall be antitled to be
appointed and/or elected to the Board of Directors in lieu of the
selling Shareholder. t[¢ any current Shareholder makes a partial
transfer of hig or her sharaa pursuant to Paragraph 1.3, guch
transferor (Shareholder making the transfer) Shall remain a member
of the Board of Directors and the transferee shall not be a member
of the Board of Directors.

2.2 Officers, The following persons ghall hold the
Following executive offices until their successors are duly elected
and qualified:

President Sonny Kahn
Vice-President Jonathan Druckmann
Secretary Russell W. Galbut

Treasurer Shlomo Epstein
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- ARTICLE III

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3.1 Corporate Purpose. The* parties acknowledge and agre=
that the purpose of the Corporation is to ack, by and through the
Corporation, to develop, manufacture, market and sell locks and
locking mechanisms and such other devices and associated items that
the Board of Directors may determine to be appropriate from time to
time in the United States and elaewhere and to engage in other such
lawful business ag determined by the Board of Directors from time
to time and that each Shareholder agrees to use its best efforts to

further such corporate purpose.

3.2 Shareholders vate for Directors, The Shareholders agree

that the By-Laws of the Corporation shall at all times provide for
a minimum of five (5) directors and that four (4) directors shall
conatitute a quorum at each Board Meeting. No Sharsholder shall,
without the prior written cansent of all the Shareholders:

A. Use any money belonging to the Company or pledge its
credit excepc in the ordinary course of business and on the account
and for the benefiec of the Company.

B. Release or discharge any debt or obligation due the

company without receiving the full amount thereof.
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° Cc. Permit or cause to be permitted any act whereby the
Property of the Company may be subject to attachment, garnishment,

geizure or forfeiture.
DO. Cause the Company to become a guarantor, surety, endorser
or give any note to any person or entity. fe

EB, Recapitalize, merge, liquidate, gell, substantially all
of the assets or issue additional stock of the Company.

3.3 Vacanciag, Whenever any vacancy in the Board of
Directors "(whether occurring by reason of death, resignation,
removal or otherwise) is to be filled at any Shareholders meeting,
the Shareholder (or his successor) who is designated the director
whose departure resulted in such vacancy, will designate a
Succesacor to fill euch vacancy, and at such meeting each
Shareholder will cause all of the Shares of Common Stock owned by
auch Shareholder to be voted for the election of such designee.

3.4 Ovorum and Veting, Each Shareholder agrees that the By-
Laws of the Corporation shall require (I) a quorum for all meetings
of the Board of Directors of the Corporation shall consist of a
minimum of four members of the Board of directors, and (ii) mailing
of necessary Statutory notice, and (iii) all actions taken by the
Board Shall. require a majority or super vote as the case may be.

Each Director shall be entitled Eo one (1) vote.

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vote, if a unanimous consent in writing setting forth the action go
taken shall be signed by all of the Shareholders (or their

proxies).

3.7 Tssuance of Stock, So long ‘as this Agreement shall

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remain in full Force and effect, the Corporation shall not
authorize the creation, issue or reissue of any shares of Stock

without receiving the unanimous congent of all the Shareholders

except as provided hereinabove,

Directors.
ARTICLE Iv
TERMINATION
4.1 Tarmination of Agreament, This Agreement shall terminate
on the occurrence ef any of the following events;
(a) the Corporation's ceasing to conduct any businegs;
{b) the making of a general assignment by the
Corporation for the benefit of its creditors;
@ the appointment of a trustee or receiver for the
corporation, or for its property or any substantial portion

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" thereo€;

(d) the filing by the Corperation of any voluntary
petition, or the filing against the Corporation of any involuntary
petition, under any federal or state insolvency ox bankruptcy law;

(e) the adjudication by any court of competent
jurisdiction that the corporation is insolvent or bankrupt;

(£) the liquidation or dissolution of the Carporation;
or

(g) the agreement to tarminate this Agreement by all of
the Shareholders who area subject thereto at the time cf such

agreement,

4.2 Termination as to a Shareholder, Thig Agreement shall

terminate as to any Shareholder in the event that all the Stock of
guch Shareholder ig purchased pursuant to Article I hereog.
ARTICLE V
NOTICES
All notices hereunder shall be in writing and shall be deemed
to have been duly given, unless otherwise provided herein, if given
by actual personal delivery or by mailing by registered or

certified mail, postage prepaid. to each of the aporopriats

parties, ag follows:

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Parties:

With a copy ta:

Pil 22

Sonny Kahn
555 N.E. 15th Street
Miami, Florida 33125

Russell W. Galbut
555 N.E. 15th Street
Miaml, Florida 33125

Bruce A. Menin
S55 N.E. 15th Street
Miami, Florida 33125

Shlomo Epstein
3267 N°. 168th Street
No. Miami Beach, Florida 33160

Jonathan Druckmann

16152 N.E. 31st Court
Apartment 1101 _

No. Miami Beach, Florida 33160

Abraham A. Galbut, Esquire
339 Washington Avenue
Miami Beach, Florida 33139

and

Steven 8B. Dolchin, Esquire
The Oaks, Suite 202 g

4330 Sheridan Street
Hollywood, Florida 33021

or to such other addrese ag any party may designate by notices given

hereunder.

ARTICLE VI

ENDORSEMENT ON STOCK CERTIFICATES

The certificate(s)

representing all Shares of Capital Stock

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“igsued by the Corporation to all Shareholders shall have endorsed
upon the face or reverse thereof the following legends:

“The shares evidenced by this certificate
have not been registered under the
Securities Act of 1933, as amended, and may
not be sold or transferred unless
registration or qualification under such
Ace 1s not required in connection with guch
Proposed sale or transfer,"

"The sale, assignment, transfer, Pledge,
encumbrance, or other disposition of the
Shares evidenced by this certificate is
subject to all of the terms, restrictions

and conditions of an Agreement dated as of

, between the Corporation, and the
shareholderg of the Corporation, a copy of
which is on file and open, to inspection at

the offices of the Corporation. "

 

ARTICLE VII ss
INITIAL INVESTMENT AND BUDGET

7.1 Znuitial Investment. The Shareholders agree to initially

invest and/or provide leans on percentage of stock ownership basis,
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for the aggregate sum of §700,000.00.

7.2 Additional Investment. The Board of Directors may, by
a majority vote, require all the Sharehalders to make an additional
Capital contribution or loan to the corporation in Proportion ta
theixzr stock holdings, provided the additional capital need of the
corporation, in the aggregate, is legs than $1.5 million during a

12 consecutive month period. Should the additional Capital need of

 

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“ the corporation be $1.5 million or more, a.guper vote, as provided

in paragraph 3.5, is required.

7.3 Budget, The Shareholders agrees that it will be the
responsibility of the Board of Directors to Prepare an annual
budget for the Operation of the corporation. The budget shall be
for a calendar year and. shall be prepared and adopted prior to the
end of the first quarter of each year. If in the event the
Directors are unable to agree upon any annual budget the budget
adopted for the prior year adjusted for C.P.I. variances shall be
controlling until a new budget is adonted by the Board of
Directors. The Shareholders agree that such budget shall provide
the appropriate item or items for the maxiceting of such products as
described herein by Crescent Heights Marketing, Inc.

Ae ARTICLE VIIT
MARKETING AND PRONUCTION
8.1 Marketing. The Shareholders agree SONNY KAHN to make the
marketing decisions for the marketing and selling of the products
to the corperation. The costs and expenses associated with the
marketing shall be consistent with the budget as prepared pursuant
to the terms hereinabove. SONNY KAHN shall be authorized to use
whatever facilities or other corporations, including corporations
in which he and/or other Shareholders have an interest therein in

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“order to effect such marketing. It is understood and agreed that
any facility or corporation that or any Shareholder may have an
interest in provide marketing and advertising servicea to the
corporation at their cost and not make a profit, commission or be
compensated’ for the marketing efforts.

§.2 Production The Shareholders agree that SHLOMO EPSTEIN and
JONATHAN DRUCKMANN to be responsible for and supervise all the
decisions regarding the manufacturing and production of products to
be produced, marketed and sold by the corporation. The costs and
expenses associated with the manufacturing and production shall be
consistent with the budget as prepared pursuant to the terms
hereinabove SHLOMO EPSTHSIN and JONATHAN DRUCKMANN shall be
authorized to use whatever facilities or other corporation
including corporations in which they or other Sharsholders have an
interest therein in order to ef£aect such manufacturing and
Production. It is understsod and agreed that any facility or.
corporation that any Sharsholder may have an interest in provide
the manufacturing and production to the corporation at their cost
and not makes a profit, commission or be compensated for the
manufacturing and production efforts.

8.3 The Board of Directora may coneider entering into an
employment agreement with SHLOMO EPSTEIN and JONATHAN DRUCKMANN

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" regarding the manufacture and production of the products fer the

Company on or about the fourth month following execution of this

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agreement.

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ARTICLE IX

9.1 Entire Agreement: Amendment. This instrument contains
the entire agreement of the parties pertaining to the subject
matter hereof. No amendment or modification of this Agreement
shall be valid or binding unless made in writing and signed by all
parties hereto. Thig inatrument by its terms, doeg hereby revoke
any and all prior understandings of the parties, whether oral or
written, relating to the subject matter hereof.

9.2 Counterparts, This Agreement may be executed in
counterparts, each of which shall be deemed an original, and all o£
which shall constitute one and the same instrument.

9.3 Benefite: Binding Pffects, This Agreement shall inure to
the benefit of and be binding upon the parties hereto, their
respective heirs, personal representatives, successorg and assigns.

9.4 Ereach: Intunctive Relief, Each party hereto agreas that
a breach of this Agreement may result in irreparable injury to the
other parties hereto, and therefore, in addition to all other
renedies provided by law, the parties hereto agree that the parties

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‘injured by a breach shall be entitled to (a) an injunction ta

prevent a breach or contemplated breach of this Agreement, (b)

apecific performance of the provisions of thig Agreement, or ®

other appropriate equitable relief.

9.5 Gaverability of Provigions. The invalidity of any words,
phrases, sentences, clauses, or dections contained. in this
Agreement shall not effect the enforceability of the zemaining
portions of thig Agreement, all of which are inserted conditionally
on their being valid at law, and, in the event Ehat any one cr more
of the words, phraseg, sentences, clauses or sections contained in
thia agreement shall be declared invalid, this Agreement shall be
construed as if such invalid words, phrases, sentences, clauses or
sections had not been inserted,

9.6 Applicable Law, This Agreement shall be construed, and
the legal. relations between the parties shall be determined in
accordance with the laws of the State of Florida, except with ?.3
respect to corporate law applicable to the jurisdiction within
which the corporation was originally incorporated.

9.7 Ldtigarion, In the event of any litigation arising out

Of or related to thie Agreement, venue shall be in Dade County,

Florida. In connection with any such litigation, the prevailing

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Party shall be entitled to recover all costs incurred, including

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» reasonable attorneys’ fees at trial and appellate proceedinge.

9.8 Furr u The Corporation and/or Remaining

Shareholders shall have the right to require and any shareholder
gelling hig Stock agrees to execute guch documents as Shall be
appropriats. in the context, including, without in any way limiting
the generality of bite foregoing: minutes of corporate meetings,
waivers of notice and consents thereto; resignations £rom any
fiduciary capacity held with respect to any pension, profit sharing
or other deferred compensation or employee benefit plan of the
Corporation; certified copies of corporate reaolutiona; amendments
to the Articles of Incorporation; affidavits and bills of sale.
3.9 Deadlock, In the event that the Shareholders are equally
split on any issue (a "Deadlock"), the agaole remedy shall be
submission of the issue to arbitration as provided for in Section
9.9(I).
{I) In the event of a Deadlock, any Shareholder may
elect to submit the dispute to arbitration pursuant to the rules
~ and regulations of the American Arbitration Association in Miami,
Dade County, Florida. One arbitrator shall be selected by each
Shareholder or group of Shareholders proposing and opposing the
resolution(s) resulting -in the deadlock. The Arbitrators go

selected shall then select a number of Arbitrators where the total

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“Arbitrators ghall be an cdd number. As an examole, if there are
three groups of Shareholders proposing and opposing a resolution,
each group of Shareholders shall be entitled to select ona (1)
Arbitrator, the three Arbitrators so selected shall then select two
Arbitrators, the five Arbitrators shall then arbitrate and decide
the issues in reference to the disputed resolution. Mo Shareholder
May Serve as an arbitrator. The panel so selected shall decide any
issue by majority vote. The decision of the arbitration panel
Shall be conclusive and binding and may be enforced by a court of

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competent jurisdiction.

9.10 Competing Investmentg. Each Shareholder shall be
entitled at all times to maintain and own other investments and
buginesses. Bach Shareholder acknowledges that each Shareholder
may actively pursue other Businesses and be involved in other
corporations. Notwithstanding the above each Shareholder agrees
net to actively compete directly or indirectly with the corporation
in pursuing ite corporate purpose of manufacturing, producing,
marketing and selling super locks and doors. ft being specifically
understood that thera ig no obligation of any Shareholder to
purchase products of the corporation for or on behalf of any
Shareholder or other corporation or business entity in which any
Shareholder ia involved.

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‘ 9.11 Name, the Shareholders acknowledge that the name and
symbols associated with Crescent and/or Crescent Heights is a
proprietary interest owned by Sonny Kahn and/or Russell W. Galbut.
Sonny Kahn and/or Russell W. Galbut hereby agree that the name
Crescent and any symbol used and developed in the manufacturing of
the lock, doors or other items produced by the corporation shall
continue to be used and remain forever with the corporation or its
successors and assigns. Notwithstanding the foregoing, no

ghisenoidce, except Sonny Kahn and/or Russell W. Galbut, may use
any symbol, name or corporate ox trade name, or otherwise conduct
busineas under the name or symbol, which is similar to, or may be
confused with, the word “Crescent” or the corporate symbol
currently used by Crescent Height Marketing, Inc., or any other

corporation associated therewith.

9.12 Stionatures on Checks, All funds in reference to the
corporation shall be placed in accounts to be designated from time
to time by the Board of Directors, shall be deposited solely in
corporate accounts which shall require the signature of at least
two (2) designees acquiring at least one signature from SHLOMO
EPSTEIN or JONATHAN DRUCXMANN to be datermined by the Board of
Directors. -Notwithstanding the foregoing the coxporation may
establish a petty cash account not to exceed the check writing

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tauthority of greater than $5,000.00 that may only require one (1)

signature.

9.13 Reytew of Documents and Comporate Records, All parties
shall each have a right to review all ‘documents, agreements,
contracts, “statements and/or other materials used in connection
with the Property and/or the activities of the Corporation. All
books and records shall be kept at the corporate office.

9.14 3 Corporation Election

A. The Shareholders acknowledga that the Company has
elected to be treated as a Small Business Corporation (the "“s
corporation”) under Sec. 1362 of the Internal Revenue Code of 1996,
as amended (the “Code”)]. The Shaxeholders hereby agree that they
will not commit or allow tao be committed any act or event which may
result in the termination of the Company's statue aa an as
corporation unless all the Shareholders unanimously agree in
writing. In the event the Company’s status as an @ corporation ia
terminated, the Shareholders agree to consent to elect to close the
taxable year and allocate the income and loss items of the Company
as of the termination date. Should the Company’s status as an 3g
corporation not be terminated, but a Shareholder terminates hig
interest’ in the Company, all the Shareholders agree to consent to

close the taxable year and allocate the income and losa items, if

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Case 1:96-cv-03476-FAM Document 52 Entered on FLSD Docket 12/19/1997 Page 34 of 50

 

 

 

 

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RUSSELL W. GALBUT, Individually
SHLOMO EPSTEIN, Individually

 

 

 

 

JONATHAN DRUCKMANN, Individually

 
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EXHIBIT B
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Aftar negotiations, the parties gut down m writing nm the Hebrew: language,
their agreements for the main poms and texms of 2 dismibution aernemen
which includes the participation of Shirionit in che shareholder agrsemen
between. the other parties to the diswibution agresment (hereinatter “the
memorandum. af understanding”).Attached hereto.

The parties agree to sigu an English translation of the memorandum or
understanding which will be approved by the legal advisars of all sides
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within 10 days es of mea

    

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Shirionit Hes ecurity Manufacturing (1991) Ltd.

 

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MEMORANDUM OF AGREEMENT

signed on the 13th of March, 1995

Between

Shirionit Hosen Security Manufacturing (1991) Ltd.

and

Crecent Locks International Inc.

Hercinbelow is a summary of the parties’ agreements: ~~“
efiniti

The Territory: U.S.A., Canada and Mexico.

The Products: All products presently under and subsequently

developed by Shirionit, including all parts thereof
and including supplementary and associated products.

The American

Company: Crecent Lock International Inc. and/or any other form
of carrying business, directly or indirectly, by Crecenc
Lock Intemational Inc. and or by the shareholders.
thereof at the time of ics incorporation and thereafter
with cegard to marketing, manufacture, distribution _
and sale promotion of the Products.

Shirionit: Shirionit Hosen Security Manufacturing (1991) Lid.
and or a company controlled by it and/or its
shareholders.

Conditions to the exclusive right of distribution °

 

Subjecc to full and accurate fulfillmenc of the conditions specified in this
Agreemence and of the conditions sec forth hereinbelow, Shirionic grants to

the American Company the exclusiye cight of distribucion of the Products in
the Territory. ,
» Case 1:96-cv-03476-FAM Document 52 Entered on FLSD Docket 12/19/1997 Page 44 of 50

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‘ a. All products wich which the American Company shall be engaged shall
. be under the trade mark of Shirionit, whether registered or noc (hereinafter
“the Trade Mark”).

b. No competition: The American company and its shareholders shall
refrain, directly or indirectly, by themselves or through other, from
engaging in any manner whatsoever in activities of marketing, promotion,
advertising or manufacturing of similar, supplementary or competing
products in the Territory.

cS, The American Company shall refrain from any form of involvement,
directly or indirectly, in sales, marketing, promotion of sales or transfer
of the Products outside the Territory.

d. Sales of the Product in the Territory shall be at a price which shall not
be less than the selling prices to the American Company, and if Products
are not sold to the American Company, at a prices which shall not fall
below the international list prics of Shirionit. However, if cormpeting
products shall be sold in the Terricory by others and the American
Company and Shirionit shall joinuly decide on temporary reduction of
prices and as a result thereof Products shall become available outside
the Territory at lower prices than Shirionit's international sale prices,
the American Company shall compensate and indemnify Shirionit against
any expense incurred by it following a claim by a third party.

Interim Perind

Term: Two years following the earlier of the approval of
this Memorandum of Agreement or the execution of a
detailed agreement.

Conditions: Investment in promotion of the Products in an amount
of nat less than U.S. § 700,00 out of which no less
than U.S. $ 500,000 shall be allocated to advertising,

Purchase of 50,000 locks from Shirtonit.

The American Company shall refrain from any dealing
and manufacturing activity, directly or indirectly, by
itself or through others.

None compliance with the conditions grant Shirionic the right to terminate
this Agreement without having to pay any proceeds and in particular for
developing a marker in the Territory.

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Migin Period
Term: 20 years and an option for additional 20 years,

Conditions: An additional investment in advertising of a minimum
amount of U.S. $ 1.5 million. Purchase of addicional
50,000 locks from Shirionit during a period of 3
consecutive years following the Inrerim Period,
amounting to an aggregate of 200,000 locks during a
period of 5 years following the approval of this
Memorandum of Agreement.

Non compliance with the conditions grants Shirionit the righe to terminace
this Agreemenc.

Manufacture

A condition for commencing direct or indirect manufacturing by the American
Company and/or for purchase of locks from sub-contractors (hereinafter
“Commencement of Production); purchase of 50,000 locks from Shirionit
during the Interim Period.

Participation in_ Activity

Shirionit purchases 1/3 of the American Company in consideration as set out
below:

Shirionic investments in the American Company in the Interim Period during
which all the shareholders of the American Company shall invest therein.
pursuant to their obligations, shall be made from the payments due to it for
the sales of locks to the American Company. To this end, Shirionit shall
invest one half of its income from the sale of the first 10,000 locks to the
American Company, until its aggregate investment in the American Company
shall amount to U.S. $ 250,000. The parties agrees that during the Interim
Period Shirionic shall not be required to invest in the American Company
more than U.S. $ 250,000.

On termination of the Interim Period and commencement of Production,

Shirionit shall invest in the American Company resources at a value required
from the proportion of its holdings vis a vis the total investments of all the
shareholders in the paid up capical of the American Company.

The parties agree that Shirionic Shall be entitled to make an investment in the
capleal of the American Company by way of setting off proceeds from sales
Of locks to the American Company during the Interim Period.

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The agreemenc among the shareholders of the American Company and the
Stanatory documents of the American Company shall be amended in a way
ensuring Shirionit's equal status and rights resulting from the Proportion of
its holdings,

Obligation to Market
The American Company undertakes to exert best efforts in order to Promote,
market and sell all of the Products, including new developments. Such

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The American Company unreservedly recognises Shirionit's intellectual
property rights of any kind, even if not yet registered, in relation to the
Products,

The American Company agress thac title in and to all intellectual property
rights shall remain vested in Shirionit during and after the term of the
Agreement.

Rovalties
The American Company undertakes and declares as follows:

Ownership in the goodwill and intellectual pceoperty rights, remains vested in
Shirionit.

In any event that Shirionit shall noc hold 1/3 of the righcs in the American
Company there shall be paid to Shirionic royalties at the rate of U.S. S$ 1 for
every unit of Product, or a parc thereof, sold separately in the Territory.

Royalties payable hereunder shall be paid free and Clear of any deduction on
account of taxes.

The undertaking of the American Company to purchase locks from Shirionic
and Shirionic’s undertaking to supply locks, shall be in accordunce with the
following conditions:

The orders shall be more or less evenly spread throurhout the pericd,

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-3-
Each order shall consist of a minimum quantity of 1000 locks and a maximum

quantity of 5000 locks, a month.

Selling price of a lock without a cylinder is U.S. $ 55. (Less U.S. $ 8 if
doors shall come without lock-covers, cylinder protectors and handles).

The price is FOB Israel.

Simultaneously with the Placement of the order there shall be opened an
irrevocable leter of credit by a first class bank.

Delivery shall be made within 90 days from Opening of a letter of credic.

Selling prices payable under this Agreement shall be clear and free of any
taxes.

If safety doors shall be ordered, the above conditiong shall apply with the
following changes:

Maximum monthly order shall be of 1000 doors.

Selling price U.S. $ 245 for Super Lock Door 2000, Actached is Shirionit's
international] ligt price,

Advertising

The American Company undertakes that prior to commencement of advertising
ie shall deliver to Shirionic an advertising programme, including a projected
time table and a copy of the advertising material.

Each party may use, free of charge, advertising material of the other party.

Assignment of Rights

with the written consent of the other party. The above shall noc apply to an
offer of shares to the public.

Liability
The parties hereby agres as follows:
Shirionit's liabilicy is limited to the product conforming to agresd specifications.

In the event of non-conformity Shirionic shall have the option co credic the
American Company, to replace the Produc: or to tepairc ic.
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In any event, Shirionit's liability shall be only towards the American Company
and not towards others.

To remove doubt, Shirijonic does not and shall noe Carry a liability towards a
third party or towards the American Company with regard to damages, loss
of income and/or profits, directly or indirectly.

In the event that a liability shall be placed upon Shirionit by reason of any
Jaw, the American Company shall indemnify Shirionic, upon its first demand,
for any amount which ic shall be required to pay by reason of a judgement
given against ic, or an expense incurred by ic in connection with the above.

The above shall survive the termination of the Agreement.

The American Company undertakes to insure Itself in a product Mabilicy
policy in an amount which in its opinion is sufficient, and to include Shirionit

‘as a beneficiary thereunder.
Consequences af Termination

Without derogating from the provisions of any law, the Parties may terminate
this Agreemence upon occurrence of any one of the following events:
bankruptcy, liquidation, appoinement of receiver and like events,

In the event of termination of the Agreement following a breach by either of
the parties, the breaching party undertakes, and all of its shareholders undertake,
that during 3 years following the termination of the Agreement, they shall
retrain, jointly and severally, directly or indirectly, from engaging in the
Territory in the manufacture and/or distribution and/or sale and/or rendering
Services, regarding the products and/or parts thereof and/or in connection |
therewith and/or conmipeting and/or similar and/or supplementary products.

If the American Company shall breach the Agreement it shall have no right to
make use of the intellectual Property rights, and it shall noc be Permitted to
represent itself as having the distribution Tights and or other rights connected
therewith,

Confidentiality

The parties undertake tO maintain in confidence this Agreement, the agreement
which shall be signed by the parties and every general information, including
with regard to Shirionit's intellectual Property rights, and reports exchanged
between them. The above shall apply during the life of the Agreement and
during the cooling off Period thereafter.

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Miscellaneous

American Standard - responsibility for compliance with the standard and for
obtaining licenses, including labels to the Products shail lie with the American

‘Company which shall bear the expenses in connection therewith.

Cost of Adaptation of Products shall be bore by Shicionic.

Reportin ne c

The American Company undertakes to Prepare quarterly unaudited financial
Statements and deliver same to Shirionit noc later than the end of the month
following the calendar quarter, and an audited financial statement by a CPA
as of 31 December, within 60 days from the end of every Calendar year.

Apnroval of the Memorandum of Agreement and signing afi a
detailed agreement.

The parties undertake to act in good faith in order to ensure that the agreement
subsequently signed shall reflect their agreements contained in this document.

This agreement is subject to the approval of the Board of Directors of
Shirionit and of the competent authorities in Israel. As of the approval of
this Memorandum of Agreement und] the execution of the detailed agreement,
this Nlemorandum shall be valid and effective.

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DOCUMENT

After negotiations, the parties put down in writing in the Hebrew language,
their agreements for the main points and terms of a distribution agreement
which inchides the participation of Shirionit in the shareholder agreement
between the other parties to the distribution agreement (hereinafter “the
memorandum of understanding"). Attached hereto.

‘The parties agree to sign an English translation of the memorandum of
understanding which will be approved by the legal advisors of all sides

within 10 days as of today. ~

   

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